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 6 United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00103 MCE
11
                                   Plaintiff,            STIPULATION TO CONTINUE ADMIT/DENY
12                                                       HEARING; ORDER
                            v.
13                                                       DATE: September 3, 2020
     JANNICE RIDDICK,                                    TIME: 10:00 a.m.
14                                                       COURT: Hon. Morrison C. England, Jr.
                                  Defendant.
15

16
            This case is set for an admit/deny hearing on September 3, 2020. On May 13, 2020, this Court
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     issued General Order 618, which suspends all jury trials in the Eastern District of California “until
18
     further notice.” Further, pursuant to General Order 611, this Court’s declaration of judicial emergency
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     under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April 16, 2020 continuing this
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     Court’s judicial emergency, this Court has allowed district judges to continue all criminal matters to a
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     date after May 2, 2021.1 This and previous General Orders, as well as the declarations of judicial
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     emergency, were entered to address public health concerns related to COVID-19.
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            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States Attorney,
24
     through Roger Yang, Assistant United States Attorney, counsel for Plaintiff, and Christopher R. Cosca,
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     counsel for Jannice Riddick, that the dispositional hearing scheduled for September 3, 2020 may be
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     vacated and continued to December 3, 2020 at 10:00 a.m.
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            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
            1

28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION TO CONTINUE ADMIT/DENY HEARING         1
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             Case 2:13-cr-00103-KJM Document 374 Filed 08/31/20 Page 2 of 2


 1          This continuance is requested to allow defense counsel the opportunity to conduct further legal

 2 research and arrange a meeting with Defendant to discuss potential resolution. The defendant’s state

 3 case has not been adjudicated, therefore the parties agree to continue the case. Counsel for defendant

 4 believes that failure to grant the above-requested continuance would deny counsel the reasonable time

 5 necessary for effective preparation, taking into account the exercise of due diligence

 6          IT IS SO STIPULATED.

 7
     Dated: August 26, 2020                                 MCGREGOR W. SCOTT
 8                                                          United States Attorney
 9
                                                            /s/ ROGER YANG
10                                                          ROGER YANG
                                                            Assistant United States Attorney
11

12
     Dated: August 26, 2020                                 /s/ CHRISTOPHER R. COSCA
13                                                          CHRISTOPHER R. COSCA
                                                            Counsel for Defendant
14
                                                            JANNICE RIDDICK
15

16                                                  ORDER
17          IT IS SO ORDERED.
18 Dated: August 28, 2020

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      STIPULATION TO CONTINUE ADMIT/DENY HEARING        2
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